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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

RICHARD HARTMAN,

               Plaintiff,

v.                                                CASE NO.: 8:14-cv-01312-SDM-MAP

UNITED RECOVERY
SYSTEMS, LP,

              Defendant.

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                            NOTICE OF PENDING SETTLEMENT

        Plaintiff, Richard Hartman, by and through undersigned counsel, hereby files this Notice

of Pending Settlement. By submission of this Notice, submitting counsel represents that this

matter has settled in principle and the parties are working toward finalizing resolution at this

time.

Dated: January 29, 2015                     Respectfully Submitted,

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                                            Tampa, Florida 33605
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                                            /s/ Gus M. Centrone

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 29, 2015, I presented a true and correct copy of the

foregoing to the Clerk of the United States District Court for the Middle District of Florida,

Tampa Division, for filing and uploading to the CM/ECF system.




                                           _/s/ Gus M. Centrone_________________
                                           Attorney
